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                                   UNITED STATES BANKRUPTCY COURT
                                      WESTERN DISTRICT OF TEXAS
                                            WACO DIVISION

  IN RE:                                                    §    CHAPTER 11
                                                            §
  DARYL GREG SMITH and,                                     §    CASE NO. 21-60162-RBK-11
  CANADIAN RIVER RANCH, LLC                                 §    CASE NO. 21-60163-RBK-11
                                                            §    Jointly Administered Under
                                                            §    Case No. 21-60162-rbk
             Debtors.                                       §

                  MOTION OF GREGORY S. MILLIGAN, CHAPTER 11 TRUSTEE,
                     SEEKING APPROVAL OF RELEASE OF LIS PENDENS

  TO THE HONORABLE RONALD B. KING,
  UNITED STATES BANKRUPTCY JUDGE:

             COMES NOW Gregory S. Milligan (the “Trustee”), chapter 11 trustee in the above-

  captioned bankruptcy cases, and files this Motion Seeking Approval of Release of Lis Pendens (the

  “Motion”) and would respectfully show as follows.

                                                 RELIEF REQUESTED

             1.       The Trustee seeks entry of an order approving the Trustee’s entry into, and filing

  of, the Releases of Lis Pendens (the “Releases”) concerning the lis pendens filed by Caddoa Creek

  Ranch, LLC (“Caddoa”) (the “Caddoa Lis Pendens”), Daryl Smith (“Smith”) and Darren Keith

  Reed (“Reed”) on the two parcels of real property located in Bosque County, Texas (the “Smith

  Lis Pendens”)1 – (i) approximately 1,200 acres that is the subject of the Solar Lease (the “Solar

  Tract”), and (ii) approximately 913 acres of unimproved Properties that is currently being

  marketed for sale by prior order of this Court (the “913 Acre Tract”, along with the Solar Tract,

  collectively, the “Properties”). The Properties are owned 90% by Smith (and such 90% interest

  is controlled by the Trustee) and 10% by Reed.


  1
      The Caddoa Lis Pendens and the Smith Lis Pendens are collectively referred to as the “Lis Pendens”



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           2.        The Trustee was informed of the existence of the Lis Pendens by the Thomas Title

  Company (the “Title Company”). The Title Company has specifically requested that the Trustee

  have the Lis Pendens removed. Reed, the remaining 10% interest holder, and signatory on the

  Smith Lis Pendens, consents to the relief sought by the Trustee and has agreed to sign the Release

  related to the Smith Lis Pendens. The Trustee submits that the signing and filing of the Releases

  is within his authority as chapter 11 trustee for Smith2 and as manager for Caddoa, and well within

  his sound business judgment as it removes a cloud on the title of the Properties. The Lis Pendens

  have created a cloud on title that if not cleared would (a) violate the solar lease regarding the Solar

  Tract, and (b) be an impediment to closing a sale of the 913 Acre Tract. Further, the Lis Pendens

  – because they were filed before the entry of the Solar Order and the recording of the special

  warranty deed authorized by this Court – has resulted in the Properties still showing as titled in the

  name of Stanley Wright, Receiver, thus frustrating the purpose of the Solar Order. Additionally,

  the Court can authorize the Releases pursuant to the express terms of the Solar Order, which it

  expressly retained authority and jurisdiction to enforce. Accordingly, the Trustee requests the

  Court enter an order authorizing him to sign and file the Releases in the real property records.

                                              JURISDICTION AND VENUE

           3.        This Court has jurisdiction to hear and determine this matter pursuant to 28 U.S.C.

  §§ 157 and 1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is

  proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

           4.        The bases for the relief requested herein are sections 105(a) and 363 of title 11 of

  the United States Code (the “Bankruptcy Code”).



  2
    Because the Smith Lis Pendens arises from an underlying action commenced by Smith in state court that has been
  removed this Court (now pending under Adversary No. 21 06013-rbk), the Trustee has contemporaneously herewith
  filed his Motion to Substitute Trustee as Real Party in Interest in such removed action.



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           5.        The Trustee confirms his consent to the entry of a final order by the Court in

  connection with this Motion to the extent that it is later determined that the Court, absent consent

  of the parties, cannot enter final orders or judgments in connection herewith consistent with

  Article III of the United States Constitution.

                                              BACKGROUND

  A.       Procedural Background

           6.        Smith and Canadian River Ranch, LLC (“CRR” and together with Smith, the

  “Debtors”) each filed a voluntary petition for relief pursuant to chapter 11 of the Bankruptcy Code

  on April 9, 2021 (the “Petition Date”).

           7.        On May 18, 2021, the Court ordered that the Debtors’ cases (the “Chapter 11

  Cases”) be jointly administered. See Dkt. No. 29, Order Granting Debtors’ Motion for Joint

  Administration.

           8.        On June 29, 2021, the United States Trustee requested appointment of the Trustee

  in this matter, and the Court approved such appointment. See Dkt. No. 91, Order Approving

  Appointment of Gregory S. Milligan as Chapter 11 Trustee.

  B.       The Properties

           (i)       The Solar Tract

           9.        The Solar Tract consists of approximately 1,200 acres in Bosque County, Texas

  and was the subject of the Emergency Motion for Order (I) Approving Assumption of Solar Lease;

  (II) Authorizing Entry into Lease Amendment; (III) Providing Protections for Lessee; and

  (IV) Authorizing the Chapter 11 Trustee to Execute Certain Documents Pursuant to FRCP 70,

  Made Applicable to this Proceeding Through FRBP 7070 (the “Solar Motion”). Dkt. No. 116. On

  July 15, 2021, this Court entered its Order (I) Approving Assumption of Solar Lease;

  (II) Authorizing Entry into Lease Amendment; (III) Providing Protections for Lessee; and


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  (IV) Authorizing Chapter 11 Trustee to Execute Certain Documents Pursuant to Federal Rule of

  Civil Procedure 70 (the “Solar Order”). Dkt. No. 128.

           10.       Pursuant to the Solar Order, this Court authorized the assumption of the Lease (as

  defined in the Solar Order). As noted in the Trustee’s Response to Debtor’s Objection to Trustee’s

  Application to Retain Broker, it is anticipated that the tenant will commence construction on the

  Solar Tract in September 2022 at which time rent payments will commence. Dkt. No. 275, ¶ 4 (the

  Lease “is now not expected to generate potential lease payments until September 2022”). The

  Lease requires that there be no liens on the Solar Tract and that the Solar Tract be titled in the

  names of Smith and Reed. Because of the Smith Lis Pendens, the Special Warranty Deed

  authorized by the Solar Order (and recorded in the real property records) is not recognized in the

  chain of title. As a result, Stanley Wright, Receiver, is still listed at the record title owner. As a

  result, the Title Company has requested that the Lis Pendens be released and has approved the

  forms of the Releases.

           (ii)      The 913 Acre Tract

           11.       The 913 Acre Tract consists of approximately 913 acres located in Bosque County,

  Texas. Ownership of the Properties is shared by: (i) Smith, holding a 90% interest, and (ii) Reed,

  holding a 10% interest.

           12.       Pursuant to the Order Approving Application to Approve Retention and

  Employment of Riley-Mclean Land, LLC as Real Estate Broker for the Trustee [Dkt. 280], this

  Court authorized the Trustee to retain Riley-McLean Land, LLC as broker (the “Broker”) to

  market and sell the 913 Acre Tract. The Broker is currently in the process of marketing and

  receiving offers for the 913 Acre Tract.




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  C.         The Lis Pendens on the Properties

             13.       In an effort to remove potential impediments and expedite the closing a sale of the

  913 Acre Tract, the Trustee contacted the Title Company, and requested a title commitment (the

  “Title Commitment”). The Title Commitment revealed that the following lis pendens were on the

  Properties:

                      Notice of Lis Pendens recorded as Instrument No. 2021-00132 in Bosque County
                       on behalf of Caddoa on January 13, 2021, in connection with Caddoa Creek Ranch,
                       LLC v. Karen A. Smith and Stanley W. Wright in his capacity as foreign receiver;
                       Cause Number 2020CV030014 in the District Court of Bent County, Colorado3;
                       and

                      Notice of Lis Pendens recorded as Instrument No. 2020-02681 in Bosque County
                       on behalf of Smith and Reed on August 10, 2020, in connection with Smith v. Smith,
                       et. al., Cause Number 02-20-00064 in the Second Court of Appeals for the State of
                       Texas4.

             14.       On February 2, 2022, the Title Company emailed Trustee’s counsel and specifically

  requested that the Lis Pendens be released on the Properties. Exhibit C.

             15.       The Trustee therefore seeks entry of an order authorizing him to execute a release

  of the Smith Lis Pendens in the form attached hereto as Exhibit D and to execute a release of the

  Caddoa Lis Pendens in the form attached hereto as Exhibit E5.




  3
      A copy of the Caddoa Lis Pendens is attached as Exhibit A.
  4
      A copy of the Smith Lis Pendens is attached as Exhibit B.
  5
   Pursuant to this Court’s Order Approving Second Amendment to Operating Agreement of Caddoa Creek Ranch, LLC
  [Dkt. No. 240], this Court “retain[ed] jurisdiction to hear and determine all matters arising from or related to the
  implementation of this order.” The Manager submits that he has the authority to enter into the release of the Caddoa
  Lis Pendens pursuant to the Second Amendment as matter of applicable non-bankruptcy law. Nevertheless, the
  Manager has included this request (1) in deference to this Court’s retention of jurisdiction as noted in the order; and
  (2) to provide notice to all interested parties, although not required under the Second Amendment.



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                                               BASIS FOR RELIEF

  A.       The Trustee is Authorized to Execute the Release Pursuant to Section 105, 363, and
           1108 of the Bankruptcy Code

           16.       By this Motion, the Trustee seeks an order affirming his authority to enter into the

  Releases pursuant to sections 105(a), 363, and 11086 of the Bankruptcy Code. Pursuant to

  section 363(b), the “trustee, after notice and a hearing, may use, sell, or lease, other than in the

  ordinary course of business, property of the estate.” 11 U.S.C. § 363(b). Courts in this district

  approve transactions under section 363(b) when the debtor or trustee articulates a business

  justification for the proposed transaction. See In re ASARCO, L.L.C., 650 F.3d 593, 601 (5th Cir.

  2011). This business judgment standard in section 363 is flexible and encourages the Court’s

  discretion in considering all the salient factors pertaining to the proceeding. See id.

           17.       Further, this Court may issue any order, process, or judgment that is necessary or

  appropriate to carry out the provisions of the Bankruptcy Code. 11 U.S.C. § 105. Section 105(a)

  authorizes a bankruptcy court to fashion such orders as are necessary to further the substantive

  provisions of the Bankruptcy Code. Matter of Oxford Mgmt., Inc., 4 F.3d 1329, 1333 (5th Cir.

  1993).

           18.       Here, entry into the Releases is a sound exercise of the Trustee’s business judgment.

  First, the Trustee is the 90% owner of the Properties and does not wish to have the Lis Pendens

  burden the Properties while the Broker is marketing and receiving offers for the 913 Acre Tract,

  and Reed, as the 10% owner of the Properties, concurs. Second, entry into (and the filing of) the

  Releases enables the Trustee to clear an impediment to an efficient and timely closing of any sale

  of the 913 Acre Tract as well as avoiding being in default of the Solar Lease. Clearing these issues



  6
    Section 1108 of the Bankruptcy Code authorizes the Trustee to “operate the debtor’s business”. Accordingly, the
  Trustee has the authority to execute the Release.



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  up now extinguishes those concerns. Third, the Title Company has specifically requested that the

  Trustee remove the Lis Pendens. In the absence of their removal, the Lis Pendens create a cloud

  on the title of the Properties.

           19.       In essence, the execution of the Releases makes closing any potential sale of the

  913 Acre Tract, which the Broker is actively marketing, more likely. A sale of the 913 Acre Tract

  would result in a significant and beneficial liquidity event for Smith’s estate. Accordingly, in an

  effort to make such a liquidity event easier and more likely to occur, the Trustee submits that

  signing and filing the Releases is well within (1) his sound business judgment under section 363

  of the Bankruptcy Code; (2) his authority as manager of Caddoa pursuant to this Court’s Order

  Approving Second Amendment to Operating Agreement of Caddoa; and (3) his authority as

  chapter 11 trustee under section 1108 of the Bankruptcy Code, and should be approved by this

  Court.

  B.       Alternatively, this Court Should Authorize the Trustee to Sign the Release Consistent
           with the Terms of the Solar Order

           20.       Pursuant to Fed. R. Bankr. P. 7070, this Court entered the Solar Order authorizing

  the Trustee to execute certain documents relative to the Lease. The Solar Order provides that the

  Court “shall retain jurisdiction to the maximum extent possible to interpret and to enforce this

  Order.” Solar Order, ¶ T. The Solar Order contemplates the Trustee being “authorized to execute

  and deliver such other documents as … the Title Company may deem necessary to implement the

  transactions contemplated by the Lease Amendment.” Id. at ¶ Q. The Solar Order further provides

  that the Trustee is authorized to execute documents necessary “for Angus’ title company…to issue

  a title policy insuring Angus’ leasehold interest.” Id. at ¶ D.

           21.       The foregoing provisions arguably provide the Trustee with the necessary authority

  to execute and record the Release related to the Solar Tract; however, the Trustee is not certain if



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  the current tenant under the Lease will or will not be obtaining financing as contemplated by ¶ D

  of the Solar Order. Further, the Trustee believes the recording of the Releases is necessary to

  implement the Lease Amendment. Given that the Solar Lease has been assumed by an order of

  this Court, to the extent of any breaches, any claims that may arise would have administrative

  status in the bankruptcy. The Trustee believes it is more prudent to obtain this Court’s authorization

  to execute and record the Releases rather than run the risk that the authority issue becomes a cause

  for concern in the future which might further delay the Smith estate realizing proceeds for the

  benefit of creditors.

           22.       As detailed above, the Title Company has specifically requested, and deemed

  necessary, that both Lis Pendens be removed, including the portions that are encumbering the Solar

  Tract, which is the subject of the Lease. Accordingly, the Court should authorize the execution of

  the Releases pursuant to the express terms of the Solar Order, and the jurisdiction and authority it

  retained to enforce the Solar Order.

           23.       The Trustee also requests that, to the extent applicable to the relief requested in this

  Motion, the Court waive the stay imposed by Bankruptcy Rule 6004(h), which provides that “[a]n

  order authorizing the use, sale, or lease of property other than cash collateral is stayed until the

  expiration of 14 days after entry of the order, unless the court orders otherwise.” Fed. R. Bankr. P.

  6004(h). As described above, the relief that the Trustee seeks in this Motion is necessary for the

  efficient administration of the Smith estate. Accordingly, the Trustee respectfully submits that

  ample cause exists to justify the (a) finding that the notice requirements under Bankruptcy Rule

  6004(a) have been satisfied and (b) waiving of the 14-day stay imposed by Bankruptcy Rule

  6004(h), as the exigent nature of the relief sought herein justifies immediate relief.




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                                                  NO PRIOR REQUEST

           24.       No prior request for the relief sought in this Motion has been made to this or any

  other court.

           WHEREFORE, the Trustee respectfully requests that the Court (a) enter an order

  authorizing the Trustee to sign and file the Releases; and (b) grant the Trustee such other and

  further relief as this Court deems just and proper.

                                                       Respectfully submitted,

                                                       WALLER LANSDEN DORTCH & DAVIS, LLP

                                                       By:      /s/ Morris D. Weiss
                                                             Morris D. Weiss
                                                             Texas Bar No. 21110850
                                                             Courtney K. Stone (admitted pro hac vice)
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                                                             William R. “Trip” Nix, III
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                                                                        trip.nix@wallerlaw.com

                                                       COUNSEL TO GREGORY S. MILLIGAN,
                                                       CHAPTER 11 TRUSTEE

                                              CERTIFICATE OF SERVICE

          I hereby certify that the above and foregoing document has been served upon all parties on
  the attached service list by first class mail or electronically via the Court’s ECF system on
  February 14, 2022.


                                                       /s/ Morris D. Weiss
                                                       Morris D. Weiss




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                                       LIMITED SERVICE LIST

 Debtors
 Daryl Greg Smith                                  Catherine Aileen Smith
 Canadian River Ranch, LLC                         5826 Cooksey Lane
 5826 Cooksey Lane                                 Waco, TX 76706
 Waco, TX 76706
                                                   Central TX Radiological Associates, PA
 Counsel to Debtors (via ECF)                      3206 4th Street
 Thomas Daniel Berghman                            Longview, TX 75695
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 Munsch Hardt Kopf & Harr, P.C.                    City of Fort Worth
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                                                   Fort Worth, TX 76102
 Dallas, TX 75201
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 United States Trustee (via ECF)                   P. O. Box 385908
 Shane P. Tobin                                    Minneapolis, MN 55438-5908
 Office of the United States Trustee
 903 San Jacinto Blvd., Room 230                   Dolcefino Consulting
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                                                   Houston, TX 77098
 Chapter 11 Trustee (via ECF)
 Gregory S. Milligan                               Griffith, Jay & Michel
 3800 N. Lamar Blvd., Suite 200                    2200 Forest Park Blvd.
 Austin, Texas 78756                               Ft. Worth, TX 76110

 Secured Creditors                                 Hanszen Laporte, LLP
 Farm Credit of Western Oklahoma                   14201 Memorial Drive
 513 S. Mission St.                                Houston, TX 77079
 Anadarko, OK 73005
                                                   Hockley County Cattle Company, Inc.
 Farm Credit Of Western Oklahoma, ACA              P.O. Box 825
 Brian McEntire, VP/Branch Manager Tuttle          Levelland, TX 79336
 PO Box 790, 4955 Farm Credit Dr.
 Tuttle, OK 73089                                  Jessica L. Brown, PLLC
                                                   9450 SW Gemini Dr., #99088
 Internal Revenue Service                          Beaverton, OR 97008-7105
 PO Box 7346
 Philadelphia, PA 19101                            Law Offices of Elizabeth Parmer
                                                   309 W. 7th St., Ste 900
 Karen Annette Smith                               Ft. Worth, TX 76102
 700 Nettleton Dr.
 Southlake, TX 76092                               Lazy K Cattle Company, LLC
                                                   2956 Via Esperanza
 20 Largest Unsecured Creditors                    Edmond, OK 73013
 (Combined)
 Bank of America                                   Lazy K. Cattle Company, LLC
 Attn: Bankruptcy Department                       Dylan Charles Edward
 475 Cross Point Pkwy                              Rosell Law Group LLP
 P. O. Box 9000                                    101 North Robinson Ave., Suite 700
 Getzville, NY 14068                               Oklahoma City, OK 73102
 Boomer State Outdoors, LLC
 12384 West 81st Street South
 Sapulpa, OK 74066-8141


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 Frost-Arnett Company                       Marc W. Taubenfeld
 PO Box 198988                              McGuire, Craddock & Strother, P.C.
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                                            Dallas, TX 75201
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                                            6800 Park Ten Blvd.
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                   EXHIBIT A
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       District Court, Bent County, Colorado
       Court Address:       725 Bent Avenue
                            Las Animas, CO 81054
       Phone Number:        (719) 456-1353
       Plaintiff: Caddoa Creek Ranch, LLC, a Colorado limited
       liability company
       v.
       Defendants: Karen A. Smith and Stanley W. Wright, in his
       capacity as foreign receiver.
                                                                          .&. COURT USE ONLY .A.
      Attorneys for Plaintiff:
                     Holder & Associates, PC                           Case Number:     2020CV030014
      Address:       405 South Cascade Avenue, Suite 106
                     Colorado Springs, Colorado 80903
      Phone Number:           (719) 575-0110
      Fax Number:             (719) 578-5863                           Div.:          Ctrm.:
      Michael D. Holder       Atty. Reg. #: 6787
      J. David Taunton        Attv. Reg.#: 45024


                                         NOTICE OF LIS PENDENS

            This Action has been commenced which involves title to real property and improvements thereon
     described as follows:

           Those certain tracts ofland located in Bosque County, Texas being more particularly described in
     Exhibit A, Exhibit B and Exhibit C attached hereto and incorporated herein by this reference.

     Dated: December 23. 2020                          Respectfully submitted,

                                                       Holder & Associates, PC




                                                       J. D v·a Taunton                            #45024
                                                       Att~ s for Plaintiff




Holder & Associates, PC
    Attorneys at Law
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   Colorado Springs
    Colorado 80903
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                                    EXIDBITA
                               LEGAL DF.SCRIPl10N

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     to a 316 tnch iron pipe found at a fence cornera
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     to a 1/2 inch iron rod found (capped s,,s,  at a fence corner, tor a
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     described in
     traa~,
                   •••edeed to Willow creek and 1outhweat corner of tb1•

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    aaLd 791.511 acre•~• tolloviag bearlng ■ an4 dl1tanoea to ll•D nails
    found, M 46 de1 31 ain 12 ••aw 11s.s1 feet,• 12 4a9 37 ain 28 ••c W
    111,59 feet,• 41 4ef e, ■in 22 ••aw 324.41 feet, M se deg 22 •io ea
    aeo I 123.97 feet, I 37 d•t 24 ala ea aec W   31••••
                                                       feet,• 49 d•t 21
    ain lt ••e W 3et.&I feet and I 34 deg 21 ain 31 aec W ,1a,e2 feet to a
    61-D nail ••c. for tbe exletint aouthve1t corner of tbe reaaind•r of a
    lecon4 ~raot of faroel one deaoribed ln a deed to Walter T. Hix, IV
    recorded in Voluae tea, tage 813 of the Official Public Record• of
    Boaque County tract and nortbveat corner of thi■ tract,
    tMIICl1 U 58 deg se ■ in 53 sec I at ze.e te1t pa11 a 1/2 incb iron rod
    to~nd (capped S695J on the east line ot said county road, in all
    5872.49 feet aero•• pa■ ture to a 1/2 inch iron rod found taapped    s,,s,
    1n the •••t line of aald 14va£da tract, for the 1outbea•t oorner of
    ••14 Hix tract and northeast corner of tbta trace,
                     sa ain 39 ■eo I (827,78 feet generally along a fence
    1.'HIICB, S lt deg
    and va1t line of ••id ldvarda tract to th• point of beginning,
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     'DAC!ftOI
     fllLD 10!18 for a lot. tract. or parcel at lan4 containing 795.s&e
     acr•• lyiag an4 aituated 1n th• Va. w. Al•b•rry Sul'V•Y A-2e. Jaaea
     Skinner survey A•783. ••·•· Al ■berry survey A•21. x.o. turner survey
     A-817 1 John Deaa•• survey A-2e, an4 tb1 A. frazier Survey 1-212 in
     80 ■ 4ua Couty. ~ex••• laid land i• all of that a•r~ain 791.1,e acEe
     Traot Two 4•aor1be4 in a 4ee4 froa Jean G. H1x. et al. ~o Willow
     Cr••k• LLC, r•corded •• Inatruaeac luaber 2e11-eeeea3t7 ~h• Official
     lublio aacord• of loaque County, and ia aore partioularly 4••or1bed ••
     follow ■,

     IIGlVIIIG at a 1/2 inch iron rod found (capped 5195) at a fence
     corner, for the northwest corner of thl• tract,
     fHIMCI, • 58 de9 fl •in 38 aeo I ,296.96 f•et t•nerally alona a f•na•
     to a 61•D nail found in a 6 inch wood poet on th• veat aide of a
     creek,
     HIICI, • JC d•t 28 ain 35 ••a I 1ae,.ee f••~ t•n•~•11y a1on1 a fenoe
     t.o a I inch pipe poat at a fence antl•a
     !H■ ICB,• 71 dtf e, ■ in e2 1ec a t2.s•f••~ geaerally alon9 a teno• to
     a a inch pipe poat at a f1nce corner. for th• nortbaa ■ t corner of th1•
     tract.a
     tBIMCla 8 16 dat 38 ain 56 aec I 1846.tt feet t•nerally along a ieno•
     co a 1/2 inch iron rod found (oappe4 56t5) at a fence an.11e,
     tHIMCla I 31 de9 87 ain e, 110 I 2199.85 feet 9en1rally along a feno•
     to a 1/2 iach iEon ro4 found (oappe4 5695) at. a fence corner, tor a
     1naide corner of tbla traot,
     tBIICB, I 19 deg 26 ain 41 a10 I 222.22 feet 1•a•rally alont a iena•
     to a 1/2 1nch iron rod found (capped 5695) at a teaoe corner, for tbe
     aorthveat corner of 111 aor•• 4eacribe4 ln a 4••4 to Willow creek
     Group. LLC. recorded•• Jnat.rua1nt 1uab1r 2e12-eee11,,s of the
     Official tublio Record• of lo•1u• Coun~y a~d a out1ide corner ot thi ■
     tract.a
     TH1•c1, I 38 det 33 ain 14 ••c I 2822,tt t••~ v•nerally alon9 a fence,
     to a 1/2 lncb iron rod tound (capped s,tst at a fence corn•~ in an ol4
     fence line, for the southwest corner ot said 159 aorea and a 1ns1de
     oorn•r of tbie tracts
     fKBI,•• i 59 ••v 22 aln 21 ••o I 1188.41 ftet, generally alon9 •n old
     fence, an4 tbe extension thereof an4 south line of •aid 150 acr1a to a
     66-D nail found in ~h• center of C.R. 3545. for• nortbve ■ t corner of
     the reaainder of a Second tract of Parcel one de1orlbe4 in a deed to
     falter~. Hix. XV reoo~d•4 in Volu•• ,ea, Pat• 813 of tb• Offioial
     tubllc aecord• ot lo1qu1 County and the aoat ta1terly northeaat aorn•r
     of th1• tract,
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     ~HBIC81 Alon, the center of ••l4 county road to Ge•D na111 toun4. v•at
     line of ■ ai4 Hix tr•ct and vest 1lne ot a 146.441 acre Tract One
     deaoribed in ■ aae deed to Willow Creek, 8 28 de9 55 ain 11 ••c I
     266,11 feet. 8 36 deg 32 ain ti aec B 45S,62 feet. s lt deg 28 •in 31
     ••o ■ 123.ee f••~• • 49 ••t 21 ain lt ••o I ie,,es teec. a 37 deg Zt
     •in 18 1ec I 31e,tt teet, s se deg 22 a1n ea sec B 623.97   f••~.    s 48
     d•t 17 ■ in 22 ••c B 324,t? feet, 8 12 d•t 37 ain 28 ••o 8 171,59 feet,
     a 46 4•1 39 ain 12 sec B 115,51 feet to a poin~, for th• southwest
     corner of said 146,44• aorea. 1at4 point beint 8 SI det 47 ain 21 sec
     N 11,28 feet fro■ a 3/8 inch iron rod found on the east aide of aaid
     county road being the aortbve ■ t corner of 3.11 acre ■ da ■ oribed in•
     deed to David Charle ■ •~auae et ux. recorded in Voluae ,s1. Page 192
     of tbe Oft1c1a1 fub11c aecorde ot loaque county an4 the sou~h•••t
     oorner of t~t• tract,
     tam•ca, a se deg,, ain 2e •ec v ae1.e, t••e ••n•~•lly along a f•no•
     io a 1/2 inoh iron rod found, for th• ao~tb•a•t corn•~ of a trace of
     land 4eaor1bed in a deed co K1chael Lucas •tux. Alicia Luca■ recorded
     as Inatru■ ent lo. 2111•tff622t1 of the Official Public Record• of
     lo■ que County,

     TBIMCB1 s sa deg 33 ain 15 ••cw 2,11.et feet generally alon9 a fence
     and north line of 1aid Lucas tract to a 1/2 inch iron rod aet at a
     fence corner on tbe west •ide of Willow creek, tor a 1na1de aorn•r of
     thia ~racts
     fHBICB, S ,1 det 45 ain se aec • t67.42 feet 1enerally alon9 • fence
     on the ve ■ t 1ide of Willow araek to a 1/2 inch iron rod found (capped
     s,9&) at a fence anol•s
     !HIICBa 8 22 deg 43 ■ ia 55 aec B 61.86 feet aenarally along a fena• to
     a 1/2 inch iron rod found (oapped S69S• at a fenoe int•r•eotion, for a
     outaid• corner of tbla traota
     ~HIMCBa a 59 deg sa ain •• ••c N 841.82 feet t•nerally alonv a fence
     ~o a 1/2 inch 1~on ro4 toun4 (capped 5695) at a fenoe anglea
     fHBHCl1 8 57 def  ,a   ■in 33 aec N 911.17 feet fenerally alonf a fence.
     and the ex~•n•ion thereof. to a 1/2 inch iron rod foun4 (oapped 5695),
     tor the ■ outhve ■ t corner of this tract,
    ,7Kllfb8a I 3t def 49 •in t9 aeo ff 4694.37 feet t•n•rally along a fence
     lo a ~/2 lnah lron rod touad (capped 5695) at a fence corner, for a
     ina&d• corner oe this tract;
     ~H11cm, 8 G& def 33 ain 18 sec V 267,t2 feet gentra11Y alon9 a fence
     to a 1/2 inch 1ran rod tound (capped 5695) at a fence corner, for the
     aouthweat corner of thl• t~acts
     ~HINC•• I lt def 57 •in 46 ••a V at,a.57 feet 9enerally alon9 • fanae
     to a 1/2 inch iron rod found (capped s,ts) at a fence corner, for a
     in ■ ide corner oe this tracts

     ~HIWCl1 8 59 det 24 •ln es ••a W 1988,11 fee~ 9enerally along a fence
     to• 1/2 inab iron rod found (capped St95) at a fence corner, for a
     outside oorner of tbi1 tract;
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       ~HIMca, v le 4•f z, aln SI ••av 1121.,2 feet 1•nerally alont a !eno•
       to th• point af b•9innln9.
      ftM'r'l'BIIII
      rz ■LDHOfll for a lot. tract. o~ 1ara•l of lan4 containing lSt.119
      acre• lrlnf and aituated 1n the Alexander rraaier survey A•212 and tb•
      Valter v. Dav■ survey A-221 in aoaque County. ~•x••• laid land la all
      of that certain traat de ■aribed tn • 4••4 fro■ Catital Iara Credit.
      r~CA to Willow cnek Group. LLC. recorded•• %n1trwaen~ Muaber 2812•
      eeee11,1 of th• Official tublio R•cord• of aoaque County. and ia aor•
      particularly de•oribed •• follow■,
      ■ 8GIRN%MGat a 1/l inch iron rod foun4 (aap1ed sets) at a fence corner
      in a aouth line oC • 1111.11 aore llrat ~raat 4eacribed ln a deed to
      lobesta Marob■an et al. record•« in Volu•• 212 1 ••t• ,,4 of the
      Official Public leaord• ot Bo•que County, out•id• corner of a 795.SCe
      aor• tract ~wo 4••cr1bed in a d••d to Willow Cr••k Group, LLC.
      recor4•4 a■ In■ t.ru••nt Mu•b•r 2e11-eeee3397 ot th• Official Public
      Record• of Bo ■ que county and northveat corner of tbi ■ tract,
      tHl ■CI,I 59 def 26 ■ in 41 ••o I 2684.12 f••t generally alont a fence
      ~o a 1/2 inch lron rad found (oapped 5691) at a fence corner. for a
      inside oorner of said Karoh■an tract and ■oat northerly northeast
      corner of thi• tract,
      tRIHCl1 S 31 deg    e,
                           ■ in 61 ■ ec B 1274.72 feet generally alont a fence
      to a 1/2 inch iron rod found (capped 5691) at a fence corner. tor a
      outaide corner of ■ aid Naroh■an traat and a lnalde corner of thla
      tract,
     tHIWCla M 59 de9 et ain 53 ••c I 1677.71 feet 9en1rally alon9 a fence
     and ■outh line of ■aid Harah■an cract to a 1/2 incb iron rod found
     (capped 5695) at a fence corner, for a outside corner of a Stoond
     traot of ,arael one de1crtbed in a deed to Walter T. Hix. IV recorded
     in Volu••     ••a.
                    ••1• 113 of th• Official tublio aeoor4• of ao•que
     County. •nd tbe •ost ea1terly northeaat corner of thi• tract,
     THIHCBa 8 39 deg 53 •in 87 ••a D 752.78 feet generally Along a fence
     to a 1/2 inab iron rod found (capped 5695), for a inaide corner of
     said Hix ~ract and southeast corn•r of thl• tract,
      ~HIICI, S 59 deg 22 ■ in 29   ••a
                                      W 4298.54 feet partially along a fence.
      north line of said Second Tract to a 1/2 inch iron rod found (capped
      5695) at~ fence corner, tor a ine14e corner of said 79S,S6e aarea and
      ...
      aoutbuest corner of this traata
               •
      !HDH~I•• I 3t deg 33 ain 14 ••c W 2822.99 feet generally along a tence
      an4 a east line of said 795.568 aorea to the point of beginning.
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      flllWOI• s 22 ••111 ata 111ea I
      aai4 211.tl aa"• u4     •••t      •••••tt••t -loaf t.h• •..-r. 11n• ot
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      to••
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      lo~tu• GOIUlty. nortb•••t oontt ot 1ai4 Chaaey tract. •oathwt■t aomer
      of aai4 eas.ae •o~•• o4 ,oucbwe ■t oon•~ o~ t:hi• ~~•0~1

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      ot 1M4 «••or1b•4 u • 4••• tcilennt~h lruae noo~4•4 in Volua, lt7.
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      .._14 kru•• tract. •outb line ot aaid Will••• traata aonh lia• of
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      ieao• oon••• tor th• aoutb•••t corner of ■aid Will■uo t~•a~.
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     11-• oi ■a14 2a1.11 aor•• o4 1enerally aloaw ~ tena1 to th• »o1nt of
     be1ua:l.•t•


                                         Fl led for Record In:
                                         STATE OF TEXAS, BOSQUE COUNTY TEXAS
                                         I hereby certify that this Instrument was fifed on the
                                         date and time stamped hereon by me and was duly
                                         recorded In the records of:
                                         BOSQUE COUNTY TEXAS
                                         Tabatha Ferguson, COUNTY CLERK
                                         Instr.: 2021-00132
                                         January 13, 2021 at 8:36 AM

                                         Sta~~~~ts!roa
                                         By:  . k~
                                                Deputy Clerk
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                   EXHIBIT B
21-60162-rbk Doc#290 Filed 02/14/22 Entered 02/14/22 12:15:36 Main Document Pg 24
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                                            IIIIIIllIllIIIIIIllIllIllII IllIllIll1111111111111111
                                            BOSQUE COUNTY# 2020-02681             Not of Lis Pendens


   STATE OF TEXAS                   §
                                    §              KNOW ALL MEN BY THESE PRESENTS:
   COUNTY OF BOSQUE                 §


                                        NOTICE OF US PENDENS

             NOTICE is hereby given that in the Second Court of Appeals in Fort Worth, Texas,

   there is pending a certain suit entitled Smith         v. Smith, et al, bearing Cause No. 02-20-
   00064 wherein Daryl G. Smith and Darren Keith Reed are appellants and that such suit

   involves title to real property, being more particularly described on       Exhibit "A". Exhibit
   "B" and Exhibit     •c: attached herein, located in Bosque County Texas. Appellants are
   seeking affirmative relief in such cause, appealing from the November 27, 2019, final

   judgment (as modified) and an unlawful February 7, 2020, receivership order of the 325 th

   District Court of Tarrant County, Texas, issued in violation of (i) TEX. FAM.   Cooe § 9.007(c);
   (ii) TEX. Bus. ORG. CODE §§ 101.112(f) and 101.1115; (iii) COLO. REV. STAT. §§ 7-80-108(1)

   and 7-80-702(1); and (iv) the Operating Agreement of Caddoa Creek Ranch, L.l.C., §

   7.l(d).
             EXECUTED this .::z!!._ day of August 2020.




                                                          r{U,~AAYLG.SMITH
                                                                                 5826 Cooksey Ln.
                                                                            Robinson, Texas 76706
                                                                         Telephone: 254-214-6590
                                                                                       APPELLANT




                                                                                      611 S. Llano
                                                                             Whitney Texas 76692
                                                                         Telephone: 254-337-3001
                                                                                      APPELLANT
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                                    AFFIDAVIT OF DARYL G. SMITH

     STATE OF TEXAS                            §
                                               §
     COUNTY OF MCLENNAN                        §

           On this day, DARYL G. SMITH., appeared before me, a Notary Public, and after I
     administered an oath to him, upon his oath, he said:

           1.      "My name is Daryl G. Smith. I am more than 18 years of age and capable of
     making this affidavit.

           2.    I executed the foregoing Notice of Lis Pendens for the purposes therein
     expressed and in the capacity therein stated."




           SWORN     .J? anbSCRIBtoibefore me by Daryl G. Smith, known to me to be the
     same, on the1-         of   ,'JfdS   of 2020.




                                                                                           2
     Notice of Us Pendens
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                           AFFIDAVIT OF DARREN KEITH REED

   STATE Of TEXAS                  §
                                   §
   COUNTY OF HILL                  §


          On this day, DARREN KEITH REED, appeared before me, a Notary Public, and after
   I administered an oath to him, upon his oath, he said:

         1.     "My name is Darren Keith Reed. I am more than 18 years of age and
   capable of making this affidavit.

         2.     I executed the foregoing Notice of Lis Pendens for the purposes therein
   expressed and in the capacity therein stated."

   FURTHER AFFIANT SAYETH NOT.




        SWORN TO and St'!JSCRl8fore me by Darren Keith Reed, known to me to be
  the same, on the]_ of  ~~- of 2020




  AFTER RECORDING PLEASE RETURN TO:

  DARYL SMITH
  5826 Cooksey ln.
  Robinson, Texas 76706



                                                                                       3
  Notice of Lis Pendens
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                                       EJBIRITA
                                  LEGALDDCRIPTION

      DacrCIISI
     r1aLO 1on1 for a lot. iract, or parcel of land oontainlat 1••••••
     aare1 lylnt an4 11~u•~•4 la t.b• Walter•• Dav■ aurvey A•22& and th•
     ••• v •. Alsberry a~n•v A•2• in loaque county, !e•aa. Said 1•~4 1• all
     of that certain lt&.••• acre ~raot one 4e ■cribe4 in a 4ee4 froa Jean
     G. Hix, •"1, to w111ov Creek Group, LLC. reoor4e4 aa In•truaent
     YW1ber 2e11•....3St1 of tile Official tublia Record• of Bosque Co~oty,
     and 1• aore particularly 4eaar1be4 aa·tollovaa
      aBGI■MIIG at• 3 inch  plpt poat at a fence con•r 1n tbe veat line of
      11.11 acre ■ de ■crlbed
                            in a deed to Rober~ Woodrov 14var4■ recorded la
      Volua• S2t, •••• 195 of the Official tublic aeoor4■ of Boaque county,
      tor the ao,t eaaterly ■outheaat corner of aa14 thia tract,
      TDIC■ a    a II def 59 ain 53 aeo W 2111.1, feet generally aloAt • fence
      to a 31• lncb iron pipe found at a feno• oorner1
      'l'llll•c•• a II 4•1 ,1 ain 4& aec V 1s1•.e1 f••t generally aloat A tenc•
      to a 112 1ncb iron ro4 found (capped s,ts) at a fence corner, for a
      1na14• corner of tbia traota
      ~DMCBa 8 31 411 ti aia 11 ••o I 1311.t2 feet 1enera11y alon1 a feno•
      to• 311 lncb iron rod fond at a fence corner in th• north line of
      a.11 aar•• 4e•crlbe4 ia • deed to David Charle ■ •r•••• et ux. reoor4e4
      in Vol••• •11, lage e,2 of tbe Official tubllo aeaor4• of aoaque
      couacy. for tb• aoat aoutherly ■outbeaac corner of tbi• tract,
      tHIIC81 8 SI••• 2, ain ,1 aeo W 917.13 feet 1enerally alOftl a fence
      to a s1a laob iron ~o4 toua4 in th•   •••t
       northv••t corn•r of aaid trauae tract,
                                                  line of c.a. 3Sts. for tbe

      HIIC■, a II«•• 47 aln 2t ••ow 11.21 feet to a point in tb• ceater
      of C.R. 1s,s. for the 1outheaat corner of•· ,,s.1,1 aore Tract two
      4e ■crlbe4 in aue deed to Willow creek and ■outhv••t comer of tbla
      trao~,
     lfllBlfC81 Aloa1 ~• oenier ot aald ooun~y road along~• ea1t 11n• of
     •aLd 111.ste aorea tilt follovint bearlnga and dl•tanoaa to ,e-D nail•
     foua4, • 41 det 3e ain 12 ••ow tts.s1 feet, a 12 ••• 37 ain 21 1ec •
     111.59 feet,••• 419 17 aln 22 ••o V 12, •• , feet, I se de9 22 ■ ln ••
     ••c W 123.97 feet, I 37 det 2• ain •• ••o W    a1•••• t••~• •  49 4•1 21
     ■in 19 ••c I aet.61 fee~ aad I 34 deg 21 ain 31 ■ea w ,11.e2 feet co a
     61-D nail    ••t, for tbe exl•~int aoY&hweat corae£ of the r•aaiader of a
     Second Tract of ,aroel one 4eaoribe4 la a 4ee4 to Walter t. Hix, IV
     recorded in Voluae •••• tat• 813 of &he Official Public Record• of
     Bo•tu• County tract ud northwest corner of thie tract&
     TIIIICla I 51 411se ain 53 aec I at 2e.e t11t pa•• a 112 inch iron rod
     iound (capped 5695) on th• east line of aald county road, in all
     1872.tl feet aero•• »••tur1 to a 1/2 inch iron ~o4 fou~d (capped 5695)
     in the    •••t
                 line of 1aid 14var4• tract, for tbe aouth•a•~ corner of
     said Hix tract and nortbaast ooraer of tbia &~acc 1


    319399.4                                                         (continued ..•)
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      tlll•ca, s le dtg sa ala 39          ■eo a (127.78 feet geaerally along a teace
      an4   •••t line   ot    ■ aid   14var4a tract to the point of bevinning.
       t'.IACl'nll
      llBLD •ona for a lot, tract. or parcel of land contalniag 1ts.s,e
      acr•• lying an4 eituate4 lat.he••· v. Al ■berry SuJ"Y•Y A"2••
      Skinner lur,ey A•71l, ••••· Alsberry l•rvev A-21. 1.0. turner survey
                                                                             J••••
      A-a1,. 3ohn Deao•• survey A-2•1 aa4 tb• A. rra&ier Survey 1•212 in
      B0 ■ 4ua County. ~•x••· laid land i• all of th•~ aerc•i• ?t1.s,e aor•
      ~raot tf11o 4eaoribe6 la a 4ee4 fro• Jean G. Klx, ec al. ~o Wlllov
      creek. LLC, recorded a■ xnacruaeac luaber 2e11-...ea3t7 th• Oftioial
      tubllo ••cord ■ of lo ■que county, and 11 aore 1artioular1y •••aribed ••
      follow ■,

      IIGIIIIIG at a 1/2 inch iron rod tou4 (oa,1M4 s•tt) at a fence
      corner. for th• northve ■t oorner of t.hi1 tracta
      fKBIC8, I II 4•1 ,1 aia U 1ea I f296.96 feet ••••rally aloa1 a fence
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      creek,
      tH■ICBa • 31 ••• 2• ain 35 aea I 1ae,.ea ieec t•n•rally a1oa9 a teao•
      co a I laoh pipe po■ t at a fence antl•a
      ~a•c•• •  71 deg e, aln e2 1ec • t2.s•           f••~
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      a 8 inoh pip• post at a fence corner, for U• aortbea ■t aorner of t.ble
      t~aots
      ,a11c1, I lC de9 SI ■ia           s,
                                 ••c I 1at, ••• ftet ··••rally alOAI a Cenoe
      to a 112 iaob iron ro4 found (oapped s,ts) at a fena• antl•1
      fHJIICla I 31 4•t t1 ain •• 1ec I 2199.15 f•et t•nerally aloa1 a fence
      to a 112 laob lraa ro4 toua4 (oatpe4 1695) at a fence earner, for a
      1aai4e ooraer of tbla tracta
      TH■IC81 I 19 ••• 2, ain d ••a• 222.22 feec 1•n•rally alone a feaoe
      to a 1/2 110b lroa rod foun4 (capped ICII) at a feaae corner. for the
      aortbwe ■t   aora•r of 11• aor•• 4eaoribe4 ia a 4••4 to •111ow Cr••k
      troup. LLC. reaord•4 •• Inatruaen~ •u•b•r 2e12-1eee1,,1 ot tbe
      Official tublia lecor41 of ao1que CO\lfttY eG4 a out11de coraer of thi ■
      tr•eta
      'l'IIB•c■, a H d•t 33 ain 1• ■ ea• 2t22,tt t••t 1enerally alon1 a iance.
      to a 1/2 1nob iron rod food (capped SG95) at• teaoe ooner in ea ol4
      fence line, for dle aou~bweat aoner of aaid lit acre ■ ao4 a 1nai4e
      oorner of tbl• traot1
      ~HB■pa, i It      ••1
                          22 ala 29 ••a I 11ea.t1 f••t• 1•n•rally along an 014
      fence. an4 tbe extenaioa ther•of an4 aoutb line of aa14 1se aor•• to a
      69-D nail fouad in ue c•nter of c.a. 3545. for• aorth•••t corner of
      ch• reaaiader of a Second fract of taroel On• de1or1be4 in a 4••4 to
      Walter,. atx. IV reoor4•4 in Volwa• •••• tag• 813 of cb• Official
      tublic aecor41 of loaque county and~• ao■t eaeterly northeaat corner
      oi thia t.rac:t.1




     319399.4                                                              (continued .•. )
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     lfHBICB• Along Ch• center of 1al4 oouty roacl to ,e-D nail• founcl.
     lin• of 1a14 Hix tract ancl v••t line of a 1t6.4te ac~e ,ract Oae
                                                                                              •••t
     •••cr1be4 ia .... 4eed to Villov Creeka a 21 4e9 SI ain 18 ••c •
     2••••1 f••t• I , , 4•t 32 ala•• aea I tss.,2 feet, I at 4eg 21 ain 31
     ••o • 121.N f••c•          a,.•••
                                  21 ala 1, ••o I a•t.fS t••t• a i1 deg 2t
     •in ea aeo I a1•.•t feet. a se ••1 22 ala•• ••c I 623.91 feet, a 18
     4•9 •~ aia 22 ••c • a2t.11 feet. I 12 4•t 37 •in a1 ••a I 1,e.st t•at,
     a 46 ••1 3e ala 12 ••c I 111.11 t■ et to a point, !or tb• 1outhve ■t
     ooraer of ■aid 11,.11• aor••• 1al4 poi.a~ btiat 8 18 d•t 11 ala 2• ••c
     V 11.21 feet fro• a 3/8 1aob iron ro4 foun4 on th•
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                                                                         •••t
                                                              aid• of ■ aid
     4••d to Da•l4 Cbarlea •~•••• et us, r•oordecl ia Volu•e      tage 112
     of tbe Official fublic aeoord■ ot loaque county and tb• •outbeast
                                                                             ,s,.
     ooraer ot till• ~r•o~a
      ~Dae■ ,I    II•••
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      f.O a 1/2 iach lroa ro4 follllt (capped S69S) at a fenoe an1l•1

     ftlBIC•• I 51 def
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     ,'IHIJtb■, I 3e ••• ~9 alll •t .. o If ICH.37 feet 1e11ea:a11y alol\t a feacse
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      1nat4• ooner oe till• traa~,
     ~llbc■,  8 66 def 33 ain 11 ••c I 261.t2 feet t•nerally along a tenoe
     to a 112 inob lron ro4 Count Coappe4 5191) at a fence aomer. for tb•
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     ~Ha•c■, I 3• def 17 ala 46 ••a V 2948,11 feet 1enerally along• fence
     to a 1/2 lach iron rod found Coat1•4 SIii) at a fence oorner, for a
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     outalde comer of tbi1 r.raota




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        ~Hswcaa • 3• 4•f 27 ala SI ••a W1121.,2 feet generally along a feno•
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      and 1outb llae of ■aid Marcbaan tract to a 1/2 tnob iron rod found
      (capped 5895) at a fence corner. for a out■ 14e corner of a second
      tract of Parcel oae de,cribe4 ln a 4e•d to Walter~. Hix. tv recorded
      lA Volu• •••• •••• 113 of tb• Official tubl1c lecorda of lo ■que
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                                           Filed for Record In:
                                           STATE OF TEXAS, BOSQUE COUNTY TEXAS
                                           I hereby certify that this Instrument was filed on the
                                           date and time stamped hereon by me and was duly
                                           recorded In the records of:
                                           BOSQUE COUNTY TEXAS
                                           Tabatha Ferguson, COUNTY CLERK
                                           Instr. : 2020-02681

                                           ::~mp'V[nm)
                                           August 10, 2020 at ~


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                   EXHIBIT C
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  From: Skalka, Matthew <MSkalka@thomastit le.com>
  Sent: Wednesday, February 2, 2022 10:56 AM
  To: Morris Weiss
  Subject: 913ac Bosque County


  I External Message
  Hi M orris,


  The issue beh ind the local title agent not show ing title in line w ith the recorded correction deed is
  due to the Lis Pendens.


  Can you get the LP released? Wh ile at it, can you get it forma lly released on the solar land as w ell?


  Thanks.


   Matthew P . Skalka

                                                                       r=i=1TH □ MAS
   Executive Vice President
   Underwriting & Energy Services
   NATIONAL COMMERCIAL SERVICES                                        L!.J         Title & Escrow
   o: 713.481.5215   I c: 713.438.2543                                       D allas I Houston I Scottsdale
   mskalka@thomastitle.com       I www.thomastitle.com                      N ational Coverage Local Expertise


   1800 West Loop South, Suite 750
   H ouston, Texas 77027
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                   EXHIBIT D
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                                 RELEASE OF LIS PENDENS
 THE STATE OF TEXAS                          §
                                             §
 COUNTY OF TRAVIS                            §

         On August 10, 2020, Daryl G. Smith and Darren Keith Reed, filed for record a
 Notice of Lis Pendens under Instrument No. 2020-02681, which instrument is filed of
 record among the Official Public Records of Bosque County, Texas, evidencing a claim
 against the property described on Exhibit A, Exhibit B and Exhibit C hereto on behalf of
 themselves as Appellants in a suit styled Daryl Greg Smith v. Karen Annette Smith, et al.,
 Case No. 02-20-00064-cv, in the Second Court of Appeals for the State of Texas (the
 “Lawsuit”).

       The action involves title to certain real property and improvements thereon (the
 “Property”), described more particularly as follows:

          Those certain tracts of land located in Bosque County, Texas, being more
          particularly described in Exhibit A, Exhibit B and Exhibit C attached
          hereto and incorporated herein by this reference.

         All claims in the Lawsuit related to the Property are no longer being asserted.
 Therefore, in consideration of the recitals and other good and valuable consideration, the
 receipt and sufficiency of which are acknowledged, Gregory S. Milligan, as Chapter 11
 Trustee for Daryl Greg Smith, and Darren Keith Reed RELEASE, SURRENDER, and
 DISCHARGE the above described Notice of Lis Pendens.

 EXECUTED on this ___ day of ____________, 2022.



                                             Gregory S. Milligan, as Chapter 11 Trustee
                                             for Daryl Greg Smith




                                             Darren Keith Reed




 040122-15051/4879-1672-0654.1
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 THE STATE OF TEXAS                     §
 COUNTY OF TRAVIS                       §

        This instrument was acknowledged before me on the ___ day of ___________,
 2022, by Gregory S. Milligan, as Chapter 11 Trustee for Daryl Greg Smith.


                                        ___________________________________
                                        NOTARY PUBLIC, STATE OF TEXAS



 THE STATE OF TEXAS                     §
 COUNTY OF ___________                  §

        This instrument was acknowledged before me on the ___ day of ___________,
 2022, by Darren Keith Reed.


                                        ___________________________________
                                        NOTARY PUBLIC, STATE OF TEXAS




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                                       EJBIRITA
                                  LEGALDDCRIPTION

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     r1aLO 1on1 for a lot. iract, or parcel of land oontainlat 1••••••
     aare1 lylnt an4 11~u•~•4 la t.b• Walter•• Dav■ aurvey A•22& and th•
     ••• v •. Alsberry a~n•v A•2• in loaque county, !e•aa. Said 1•~4 1• all
     of that certain lt&.••• acre ~raot one 4e ■cribe4 in a 4ee4 froa Jean
     G. Hix, •"1, to w111ov Creek Group, LLC. reoor4e4 aa In•truaent
     YW1ber 2e11•....3St1 of tile Official tublia Record• of Bosque Co~oty,
     and 1• aore particularly 4eaar1be4 aa·tollovaa
      aBGI■MIIG at• 3 inch  plpt poat at a fence con•r 1n tbe veat line of
      11.11 acre ■ de ■crlbed
                            in a deed to Rober~ Woodrov 14var4■ recorded la
      Volua• S2t, •••• 195 of the Official tublic aeoor4■ of Boaque county,
      tor the ao,t eaaterly ■outheaat corner of aa14 thia tract,
      TDIC■ a    a II def 59 ain 53 aeo W 2111.1, feet generally aloAt • fence
      to a 31• lncb iron pipe found at a feno• oorner1
      'l'llll•c•• a II 4•1 ,1 ain 4& aec V 1s1•.e1 f••t generally aloat A tenc•
      to a 112 1ncb iron ro4 found (capped s,ts) at a fence corner, for a
      1na14• corner of tbia traota
      ~DMCBa 8 31 411 ti aia 11 ••o I 1311.t2 feet 1enera11y alon1 a feno•
      to• 311 lncb iron rod fond at a fence corner in th• north line of
      a.11 aar•• 4e•crlbe4 ia • deed to David Charle ■ •r•••• et ux. reoor4e4
      in Vol••• •11, lage e,2 of tbe Official tubllo aeaor4• of aoaque
      couacy. for tb• aoat aoutherly ■outbeaac corner of tbi• tract,
      tHIIC81 8 SI••• 2, ain ,1 aeo W 917.13 feet 1enerally alOftl a fence
      to a s1a laob iron ~o4 toua4 in th•   •••t
       northv••t corn•r of aaid trauae tract,
                                                  line of c.a. 3Sts. for tbe

      HIIC■, a II«•• 47 aln 2t ••ow 11.21 feet to a point in tb• ceater
      of C.R. 1s,s. for the 1outheaat corner of•· ,,s.1,1 aore Tract two
      4e ■crlbe4 in aue deed to Willow creek and ■outhv••t comer of tbla
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     •aLd 111.ste aorea tilt follovint bearlnga and dl•tanoaa to ,e-D nail•
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     111.59 feet,••• 419 17 aln 22 ••o V 12, •• , feet, I se de9 22 ■ ln ••
     ••c W 123.97 feet, I 37 det 2• ain •• ••o W    a1•••• t••~• •  49 4•1 21
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     recorded in Voluae •••• tat• 813 of &he Official Public Record• of
     Bo•tu• County tract ud northwest corner of thie tract&
     TIIIICla I 51 411se ain 53 aec I at 2e.e t11t pa•• a 112 inch iron rod
     iound (capped 5695) on th• east line of aald county road, in all
     1872.tl feet aero•• »••tur1 to a 1/2 inch iron ~o4 fou~d (capped 5695)
     in the    •••t
                 line of 1aid 14var4• tract, for tbe aouth•a•~ corner of
     said Hix tract and nortbaast ooraer of tbia &~acc 1


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      tlll•ca, s le dtg sa ala 39          ■eo a (127.78 feet geaerally along a teace
      an4   •••t line   ot    ■ aid   14var4a tract to the point of bevinning.
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      llBLD •ona for a lot, tract. or parcel of land contalniag 1ts.s,e
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      A-a1,. 3ohn Deao•• survey A-2•1 aa4 tb• A. rra&ier Survey 1•212 in
      B0 ■ 4ua County. ~•x••· laid land i• all of th•~ aerc•i• ?t1.s,e aor•
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      a 8 inoh pip• post at a fence corner, for U• aortbea ■t aorner of t.ble
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      to a 112 iaob iron ro4 found (oapped s,ts) at a fena• antl•1
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      1aai4e ooraer of tbla tracta
      TH■IC81 I 19 ••• 2, ain d ••a• 222.22 feec 1•n•rally alone a feaoe
      to a 1/2 110b lroa rod foun4 (capped ICII) at a feaae corner. for the
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      Walter,. atx. IV reoor4•4 in Volwa• •••• tag• 813 of cb• Official
      tublic aecor41 of loaque county and~• ao■t eaeterly northeaat corner
      oi thia t.rac:t.1




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     a 46 ••1 3e ala 12 ••c I 111.11 t■ et to a point, !or tb• 1outhve ■t
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     aouthwe ■~ corner of tbl• tracts

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     to a 1/2 lach iron rod found Coat1•4 SIii) at a fence oorner, for a
     ln•14• coner of tbla tracts
     ~HIIIC8, 8 St def 24 ain es ••o • 1tee.11 fee& t•n•rally &lont • feno•
     to• 1/2 incb lton rod foua4 (aappe« s,ts) at a f•nae corner. for a
     outalde comer of tbi1 r.raota




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        ~Hswcaa • 3• 4•f 27 ala SI ••a W1121.,2 feet generally along a feno•
        ~o th• point of be91nn1n9.
       BM'l''l'aal
      f%SLD MMII tor a lot. tract. or 1arcel of laad containing 1se.111
      aorea lylnt and 11t••~•4 tn tbe Alexaa4er traaier aurvey A-212 and tb•
      Walter w. Dav• aun•y &•221 in loaque County.              t•x•••
                                                            laid 1aa4 ia all
      ot that aanaln uaat deaaribed ln a 4ae4 fro■ Capital tara are41ta
      ,1acA to W111ov creek Group. LLC. recor4e4 •• in,trwaent Mullber 2e12-
      eNe1,,1 of th• Official lub11a Reaorda of aoaque County. an4 1, ■or•
      particularly deaoribed •• follova,
      ••G%1MXN at a 1/2 inch iron n4 foun4 (cap1e4 1191) at a feaae ooner
      in a ,ouch line of• 1111.11 aore 11rat ~raot 4eacribe4 la a deed to
      ao~ecca Karabaan et al. record•« la Voluae 21a. Page 164 oft~•
      Official Public leaor4• of aoaque Couty, out1ide corner of a
      aore ~~•oc t'vo ••••rlbed la     a••••M Willow Cre•k Group, LLC.
                                                                                    1,s.1••
      recorded a■ ln■ tn•••~ luuer 2111-e...3391 ot th• Official tublio
      aecorda of ao ■qu.e County and aort.hweat corner of chi ■ tracts
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       to a 1/2 inch iron rod fond (oapped 1895) at a fenc• aom•r• tor a
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                   EXHIBIT E
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                                   RELEASE OF LIS PENDENS
 THE STATE OF TEXAS                                   §
                                                      §
 COUNTY OF TRAVIS                                     §

         On January 13, 2021, J. David Taunton, as attorney for Plaintiff, filed for record a Notice
 of Lis Pendens under Instrument No. 2021-00132, which instrument is filed of record among the
 Official Public Records of Bosque County, Texas, evidencing a claim against the property
 described on Exhibit A, Exhibit B and Exhibit C hereto on behalf of Caddoa Creek Ranch, LLC
 (“Plaintiff”) in a suit styled Caddoa Creek Ranch, LLC v. Karen A. Smith and Stanley W. Wright,
 in his capacity as foreign receiver, Case No. 2020CV030014 in the District Court of Bent County,
 Colorado (the “Lawsuit1”).

       The action involves title to certain real property and improvements thereon (the
 “Property”), described more particularly as follows:

          Those certain tracts of land located in Bosque County, Texas, being more
          particularly described in Exhibit A, Exhibit B and Exhibit C attached hereto and
          incorporated herein by this reference.

         All claims in the Lawsuit related to the Property are no longer being asserted. Therefore,
 in consideration of the recitals and other good and valuable consideration, the receipt and
 sufficiency of which are acknowledged, Caddoa Creek Ranch, LLC RELEASES, SURRENDERS,
 and DISCHARGES the above described Notice of Lis Pendens.

 EXECUTED on this ___ day of ____________, 2022.


                                                      Caddoa Creek Ranch, LLC,
                                                      a Colorado limited liability company


                                                      Gregory S. Milligan, Manager




 1 The Lawsuit was removed to the United States Bankruptcy Court for the District of Colorado, Denver Division, Case
 No. 21-01155-KHT (the “Colorado Adversary Proceeding”). The Colorado Adversary Proceeding was then
 transferred to and remains pending in the United States Bankruptcy Court for the Western District of Texas, Waco
 Division, Case No. 21-06016-rbk.


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 THE STATE OF TEXAS                      §
 COUNTY OF TRAVIS                        §

       This instrument was acknowledged before me on the ___ day of ___________, 2022, by
 Gregory S. Milligan, as Manager of Caddoa Creek Ranch, LLC.


                                         ___________________________________
                                         NOTARY PUBLIC, STATE OF TEXAS




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                                    EXIDBITA
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     ~i•LD IOfll for a lot. ~raot 1 or paroel oC land oontain1ag    1••••••
     aare ■ lytat an4 situated tn the Walter w. Daw■ survey A•226 aod the
     wa. v. Alaberry survey A•2• in Boequ• county, texaa. laid land ia all
     oC that certain 1t,.ttt acre traot On• deacribed in a d••d froa Jean
     G. Hix, etal, to w111av creek Group, LLC, recorded•• In•truaent
     Huab•~ 2e11-te1t3317 of tbe Official •ublio Record ■ of Bo ■que County,
     and 1• aor, particularly deeoribed aa follow••
     IIG%1MIIG at a 3 inch pipe poat at a fence oorner in cbe veat line of
     6&.81 acr•• deaoribed in a deed to Ro~•rt Voodrov ldwarda recorded in
     Volua• s2e, fege 115 of the Official Public aecor4• of Boaque county,
     for the aoat eaaterly ■ outbea■ t corner of aa1d th1 ■ tract,
     TDICBa a se dtf 51 ain S3 aeo W 2aa1.1, feet t•nerally along• fence
     to a 316 tnch iron pipe found at a fence cornera
     ~HB•aaa I 58 de1 tl ain ,, ■ ec u 1s1,.e1 feet generally along a fenc•
     to a 1/2 inch iron rod found (capped s,,s,  at a fence corner, tor a
     inai4• corner of thia tracts
     ,aKCla 8 39 deg ti ain 1e aeo I 1311.42 feet generally along a f6nc•
     to a 3/1 inch iNn rod found at a fence comer in th• north line ot
     3.11 aor•• 4••crlbe4 in a deed to David Charle• Prause •tux, reoor4e4
     in Volua1 tll, ta11 tt2 oft.he Official tubllc ••aorda of aoaque
     county. for th• ■oat aoutherly aoutbeaat corner of thi• tract,
     tHIICI, 8 51 deg 26 ain ti ••c V 917.13 f••& generally along a fence
     to a lll 1nob iron ro4 found in tb• •••t
      northv1at corner of aald tr•~•• tract,
                                              11oe of c.a. 31tS. for the

     tHIICl1 • 51 4e1 47 aln 2e ••o W 11.21 feat to a point in tb• o•nter
     of C.R. 35&5, for the 1oath•••t corner of• 795,568 acre tract tw6
     described in
     traa~,
                   •••edeed to Willow creek and 1outhweat corner of tb1•

    ,111ca, Along tbe oeuter of aa1d county road along tbe   e••~
                                                                lin• of
    aaLd 791.511 acre•~• tolloviag bearlng ■ an4 dl1tanoea to ll•D nails
    found, M 46 de1 31 ain 12 ••aw 11s.s1 feet,• 12 4a9 37 ain 28 ••c W
    111,59 feet,• 41 4ef e, ■in 22 ••aw 324.41 feet, M se deg 22 •io ea
    aeo I 123.97 feet, I 37 d•t 24 ala ea aec W   31••••
                                                       feet,• 49 d•t 21
    ain lt ••e W 3et.&I feet and I 34 deg 21 ain 31 aec W ,1a,e2 feet to a
    61-D nail ••c. for tbe exletint aouthve1t corner of tbe reaaind•r of a
    lecon4 ~raot of faroel one deaoribed ln a deed to Walter T. Hix, IV
    recorded in Voluae tea, tage 813 of the Official Public Record• of
    Boaque County tract and nortbveat corner of thi■ tract,
    tMIICl1 U 58 deg se ■ in 53 sec I at ze.e te1t pa11 a 1/2 incb iron rod
    to~nd (capped S695J on the east line ot said county road, in all
    5872.49 feet aero•• pa■ ture to a 1/2 inch iron rod found taapped    s,,s,
    1n the •••t line of aald 14va£da tract, for the 1outbea•t oorner of
    ••14 Hix tract and northeast corner of tbta trace,
                     sa ain 39 ■eo I (827,78 feet generally along a fence
    1.'HIICB, S lt deg
    and va1t line of ••id ldvarda tract to th• point of beginning,
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     'DAC!ftOI
     fllLD 10!18 for a lot. tract. or parcel at lan4 containing 795.s&e
     acr•• lyiag an4 aituated 1n th• Va. w. Al•b•rry Sul'V•Y A-2e. Jaaea
     Skinner survey A•783. ••·•· Al ■berry survey A•21. x.o. turner survey
     A-817 1 John Deaa•• survey A-2e, an4 tb1 A. frazier Survey 1-212 in
     80 ■ 4ua Couty. ~ex••• laid land i• all of that a•r~ain 791.1,e acEe
     Traot Two 4•aor1be4 in a 4ee4 froa Jean G. H1x. et al. ~o Willow
     Cr••k• LLC, r•corded •• Inatruaeac luaber 2e11-eeeea3t7 ~h• Official
     lublio aacord• of loaque County, and ia aore partioularly 4••or1bed ••
     follow ■,

     IIGlVIIIG at a 1/2 inch iron rod found (capped 5195) at a fence
     corner, for the northwest corner of thl• tract,
     fHIMCI, • 58 de9 fl •in 38 aeo I ,296.96 f•et t•nerally alona a f•na•
     to a 61•D nail found in a 6 inch wood poet on th• veat aide of a
     creek,
     HIICI, • JC d•t 28 ain 35 ••a I 1ae,.ee f••~ t•n•~•11y a1on1 a fenoe
     t.o a I inch pipe poat at a fence antl•a
     !H■ ICB,• 71 dtf e, ■ in e2 1ec a t2.s•f••~ geaerally alon9 a teno• to
     a a inch pipe poat at a f1nce corner. for th• nortbaa ■ t corner of th1•
     tract.a
     tBIMCla 8 16 dat 38 ain 56 aec I 1846.tt feet t•nerally along a ieno•
     co a 1/2 inch iron rod found (oappe4 56t5) at a fence an.11e,
     tHIMCla I 31 de9 87 ain e, 110 I 2199.85 feet 9en1rally along a feno•
     to a 1/2 iach iEon ro4 found (oappe4 5695) at. a fence corner, tor a
     1naide corner of tbla traot,
     tBIICB, I 19 deg 26 ain 41 a10 I 222.22 feet 1•a•rally alont a iena•
     to a 1/2 1nch iron rod found (capped 5695) at a teaoe corner, for tbe
     aorthveat corner of 111 aor•• 4eacribe4 ln a 4••4 to Willow creek
     Group. LLC. recorded•• Jnat.rua1nt 1uab1r 2e12-eee11,,s of the
     Official tublio Record• of lo•1u• Coun~y a~d a out1ide corner ot thi ■
     tract.a
     TH1•c1, I 38 det 33 ain 14 ••c I 2822,tt t••~ v•nerally alon9 a fence,
     to a 1/2 lncb iron rod tound (capped s,tst at a fence corn•~ in an ol4
     fence line, for the southwest corner ot said 159 aorea and a 1ns1de
     oorn•r of tbie tracts
     fKBI,•• i 59 ••v 22 aln 21 ••o I 1188.41 ftet, generally alon9 •n old
     fence, an4 tbe extension thereof an4 south line of •aid 150 acr1a to a
     66-D nail found in ~h• center of C.R. 3545. for• nortbve ■ t corner of
     the reaainder of a Second tract of Parcel one de1orlbe4 in a deed to
     falter~. Hix. XV reoo~d•4 in Volu•• ,ea, Pat• 813 of tb• Offioial
     tubllc aecord• ot lo1qu1 County and the aoat ta1terly northeaat aorn•r
     of th1• tract,
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     ~HBIC81 Alon, the center of ••l4 county road to Ge•D na111 toun4. v•at
     line of ■ ai4 Hix tr•ct and vest 1lne ot a 146.441 acre Tract One
     deaoribed in ■ aae deed to Willow Creek, 8 28 de9 55 ain 11 ••c I
     266,11 feet. 8 36 deg 32 ain ti aec B 45S,62 feet. s lt deg 28 •in 31
     ••o ■ 123.ee f••~• • 49 ••t 21 ain lt ••o I ie,,es teec. a 37 deg Zt
     •in 18 1ec I 31e,tt teet, s se deg 22 a1n ea sec B 623.97   f••~.    s 48
     d•t 17 ■ in 22 ••c B 324,t? feet, 8 12 d•t 37 ain 28 ••o 8 171,59 feet,
     a 46 4•1 39 ain 12 sec B 115,51 feet to a poin~, for th• southwest
     corner of said 146,44• aorea. 1at4 point beint 8 SI det 47 ain 21 sec
     N 11,28 feet fro■ a 3/8 inch iron rod found on the east aide of aaid
     county road being the aortbve ■ t corner of 3.11 acre ■ da ■ oribed in•
     deed to David Charle ■ •~auae et ux. recorded in Voluae ,s1. Page 192
     of tbe Oft1c1a1 fub11c aecorde ot loaque county an4 the sou~h•••t
     oorner of t~t• tract,
     tam•ca, a se deg,, ain 2e •ec v ae1.e, t••e ••n•~•lly along a f•no•
     io a 1/2 inoh iron rod found, for th• ao~tb•a•t corn•~ of a trace of
     land 4eaor1bed in a deed co K1chael Lucas •tux. Alicia Luca■ recorded
     as Inatru■ ent lo. 2111•tff622t1 of the Official Public Record• of
     lo■ que County,

     TBIMCB1 s sa deg 33 ain 15 ••cw 2,11.et feet generally alon9 a fence
     and north line of 1aid Lucas tract to a 1/2 inch iron rod aet at a
     fence corner on tbe west •ide of Willow creek, tor a 1na1de aorn•r of
     thia ~racts
     fHBICB, S ,1 det 45 ain se aec • t67.42 feet 1enerally alon9 • fence
     on the ve ■ t 1ide of Willow araek to a 1/2 inch iron rod found (capped
     s,9&) at a fence anol•s
     !HIICBa 8 22 deg 43 ■ ia 55 aec B 61.86 feet aenarally along a fena• to
     a 1/2 inch iron rod found (oapped S69S• at a fenoe int•r•eotion, for a
     outaid• corner of tbla traota
     ~HIMCBa a 59 deg sa ain •• ••c N 841.82 feet t•nerally alonv a fence
     ~o a 1/2 inch 1~on ro4 toun4 (capped 5695) at a fenoe anglea
     fHBHCl1 8 57 def  ,a   ■in 33 aec N 911.17 feet fenerally alonf a fence.
     and the ex~•n•ion thereof. to a 1/2 inch iron rod foun4 (oapped 5695),
     tor the ■ outhve ■ t corner of this tract,
    ,7Kllfb8a I 3t def 49 •in t9 aeo ff 4694.37 feet t•n•rally along a fence
     lo a ~/2 lnah lron rod touad (capped 5695) at a fence corner, for a
     ina&d• corner oe this tract;
     ~H11cm, 8 G& def 33 ain 18 sec V 267,t2 feet gentra11Y alon9 a fence
     to a 1/2 inch 1ran rod tound (capped 5695) at a fence corner, for the
     aouthweat corner of thl• t~acts
     ~HINC•• I lt def 57 •in 46 ••a V at,a.57 feet 9enerally alon9 • fanae
     to a 1/2 inch iron rod found (capped s,ts) at a fence corner, for a
     in ■ ide corner oe this tracts

     ~HIWCl1 8 59 det 24 •ln es ••a W 1988,11 fee~ 9enerally along a fence
     to• 1/2 inab iron rod found (capped St95) at a fence corner, for a
     outside oorner of tbi1 tract;
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       ~HIMca, v le 4•f z, aln SI ••av 1121.,2 feet 1•nerally alont a !eno•
       to th• point af b•9innln9.
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      rz ■LDHOfll for a lot. tract. o~ 1ara•l of lan4 containing lSt.119
      acre• lrlnf and aituated 1n the Alexander rraaier survey A•212 and tb•
      Valter v. Dav■ survey A-221 in aoaque County. ~•x••• laid land la all
      of that certain traat de ■aribed tn • 4••4 fro■ Catital Iara Credit.
      r~CA to Willow cnek Group. LLC. recorded•• %n1trwaen~ Muaber 2812•
      eeee11,1 of th• Official tublio R•cord• of aoaque County. and ia aor•
      particularly de•oribed •• follow■,
      ■ 8GIRN%MGat a 1/l inch iron rod foun4 (aap1ed sets) at a fence corner
      in a aouth line oC • 1111.11 aore llrat ~raat 4eacribed ln a deed to
      lobesta Marob■an et al. record•« in Volu•• 212 1 ••t• ,,4 of the
      Official Public leaord• ot Bo•que County, out•id• corner of a 795.SCe
      aor• tract ~wo 4••cr1bed in a d••d to Willow Cr••k Group, LLC.
      recor4•4 a■ In■ t.ru••nt Mu•b•r 2e11-eeee3397 ot th• Official Public
      Record• of Bo ■ que county and northveat corner of tbi ■ tract,
      tHl ■CI,I 59 def 26 ■ in 41 ••o I 2684.12 f••t generally alont a fence
      ~o a 1/2 inch lron rad found (oapped 5691) at a fence corner. for a
      inside oorner of said Karoh■an tract and ■oat northerly northeast
      corner of thi• tract,
      tRIHCl1 S 31 deg    e,
                           ■ in 61 ■ ec B 1274.72 feet generally alont a fence
      to a 1/2 inch iron rod found (capped 5691) at a fence corner. tor a
      outaide corner of ■ aid Naroh■an traat and a lnalde corner of thla
      tract,
     tHIWCla M 59 de9 et ain 53 ••c I 1677.71 feet 9en1rally alon9 a fence
     and ■outh line of ■aid Harah■an cract to a 1/2 incb iron rod found
     (capped 5695) at a fence corner, for a outside corner of a Stoond
     traot of ,arael one de1crtbed in a deed to Walter T. Hix. IV recorded
     in Volu••     ••a.
                    ••1• 113 of th• Official tublio aeoor4• of ao•que
     County. •nd tbe •ost ea1terly northeaat corner of thi• tract,
     THIHCBa 8 39 deg 53 •in 87 ••a D 752.78 feet generally Along a fence
     to a 1/2 inab iron rod found (capped 5695), for a inaide corner of
     said Hix ~ract and southeast corn•r of thl• tract,
      ~HIICI, S 59 deg 22 ■ in 29   ••a
                                      W 4298.54 feet partially along a fence.
      north line of said Second Tract to a 1/2 inch iron rod found (capped
      5695) at~ fence corner, tor a ine14e corner of said 79S,S6e aarea and
      ...
      aoutbuest corner of this traata
               •
      !HDH~I•• I 3t deg 33 ain 14 ••c W 2822.99 feet generally along a tence
      an4 a east line of said 795.568 aorea to the point of beginning.
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